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                          IN THE UNITED STATED DISTRICT COURT
                       FQR THE EASTERN DISTRICT OF PENNSYLVANIA


SUSAN EVERETT,                                                   CNIL ACTION NO.         18-00746-WB

                           Plaintiff,

            V


THE MATERNAL CHILD CONSORTIUM, LLC,                       :



                           Defendant.


                                                   ORDER

            AND NO\M, this              day   of                  2018, upon consideration of

defendant The Maternal Child Consortium, LLC's Motion to Dismiss Plaintiff s Complaint or
                              -
for   a   More Definitive Statement, and plaintiff Susan Everett's response in opposition thereto, it is

hereby

                                               ORDERED
that defendant's Motion is GRANTED and plaintiffls Complaint is dismissed with prejudice.


                                                          BY THE COURT



                                                          \ilENDY BEETLESTONE, U.S.D.J.
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                           IN THE UNITED STATED DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA


SUSAN EVERETT,                                                        CNIL ACTION NO.      18-00746-WB

                             Plaintiff,

        V


THE MATERNAL CHILD CONSORTIUM, LLC,                        :



                             Defendant.



   DEFENDANT THE MATERNAL CHILD CONSORTIUM, LLC'S MOTION TO
DISMISS PLAINTIFF'S COMPLAINT OR FOR A MORE DEFINITI.VE STATEMENT

        Defendant, The Maternal Child Consortium,LLC, moves for dismissal of all Counts of

Plaintifls Complaint (Counts I-IV) under Federal Rule of Civil Procedure 12(b)(6)           and,


alternately, for a more definitive statement under Federal Rule of Civil Procedure 12(b)(e) as to

Counts I,   III   and   IV of Plaintiffls Complaint for the reasons   stated in the accompanying   brief

which is adopted and incorporated by reference as if fully set forth herein.

                                                    Respectfully submitted,

                                                    McSHEA LAW FIRM' P.C.

                                                     /s/ Raloh J. V
                                                    RALPH J. KELLY, ESQUIRE

                                                    Attorney for Defendant,
                                                    The Maternal Child Consortium,LLC

Date:   }i4.ay    29,2018
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                 IN THE UNITED STATED DISTRICT COURT
              FOR THE EASTERN DISTRICT OF PENNSYLVANIA


SUSAN EVERETT,                                    CNIL ACTION NO. I8-00746-WB

                  Plaintiff,

     V


THE MATERNAL CHILD CONSORTIUM, LLC,        :




                  Defendant.




     DEFENDANT THE MATERNAL CHILD CONSORTIUM, LLC'S BRIEF
         IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFF''S
         COMPLAINT OR FOR A MORE DEFINITIVE STATEMENT


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I.     INTRODUCTION

       Plaintiff, Susan Everett ('oEverett"), filed suit against defendant, The Maternal Child
                                    ooDefendant"), claiming certain alleged federal and state
Consortium,LLC ("Maternal Child" or

statutory violations in connection with the termination of employment in October, 2016. The

Complaint is a motley collection of vague conclusions of law that are contradicted by what little

facts are actually pled. The end result is a defective complaint that fails to state a cause of action

against Maternal Child and must be dismissed under Federal Rule of Civil Procedure l2(b)(6).

       First, Everett's ADA claim must be dismissed because she failed to exhaust her

administrative remedies against Maternal Child. She never instituted an administrative

proceeding against Maternal Child. Instead, her EEOC proceeding (and right to sue letter) were

brought against another entity, Associates Home Care, Inc. ("Associates Home Care") and the

time to sue that party has long since expired.

        Second, Everett's   ADA   and   FMLA counts conclude that   she was terminated   for

requesting leave. However, these legal conclusions are belied by the actual facts in Everett's

Complaint. The facts as pled show that Everett received the full leave to which she was entitled,

and was not terminated for requesting leave but because she failed to return to work when that

leave had expired.

        Third, Everett is not disabled within the meaning of the ADA under the Act's "regarded

                      which prohibits claims for transitory and minor impairments such    as Everett
as,, disabled prong

alleges in her Complaint in connection with her diagnosis of Lofrgren Syndrome'

        Finally, Everett's claims based on Defendant's purported overtime compensation

violations under the Fair Labor Standards Act ("FLSA") and the Pennsylvania Minimum'Wage

Act (,,pMWA") are conclusory and vague and lack any temporal limitation. The threadbare
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nature of Everett's allegations also make   it unclear whether Everett is asserting any claim   based

                                                                    o'meal
on purported failures to pay "on-call" compensation or for improper        break" deductions'

Nevertheless, what is clear, is that Everett fails to plead sufficient facts to state plausible claims

for relief against Maternal Child under the FLSA and PMWA for any reason and those claims

must be dismissed.

        In the alternative, Everett must be required to provide a more definitive statement under

Rule l2(e) with respect to her ADA, FLSA, and PMWA claims as discussed below.

II.     BACKGROUND

        A.      Procedural History

        Everett commenced this action by filing a four-count Complaint in this Court on

February 16,2013 (ECF No. 1) against Maternal Child for alleged (a) discrimination and

retaliation under the ADA, 42 U.S.C. $ 12101 et seq. (Count I), (b) interference and retaliation

under the   FMLA, 29 U.S.C.    5 621 et seq. (Count   II), (c) witlful failure to pay overtime and other

compensation as required under the FLSA, 29 U.S.C. $ 201 et seq. (Count III), and (d) failure to

pay overtime and other compensation as required under the PMWA, 43 P'S' Ç 333 et seq. (Count

IV). A true and correct copy of the Complaint      is attached hereto as Exhibit A'

        B.      Facts Alleged in the ComPlaintr

                1.       The Parties

        Everett is a citizen of the United States and Pennsylvania who currently maintains a

residence in Levittown, PA 19055 and Maternal Child is a limited liability corporation




I       Although Maternal Child strenuously disputes the "facts" Everett alleges in her
Complaint, it assumes, as it must that that Everett's factual allegations are true for the purposes
of its Rule 12(bX6) motion. A summary of the facts in the Complaint that are relevant to
Maternal Child's motion are set forth below.
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authorized and existing under the laws of the state of Pennsylvania, with a registered principal

office address in Bensalem, PA 19020. Ex. A, Compl. tlI2-3.

               2,       Everett's Employment

       Everett was employed by Defendant'as a Scheduler. Ex. A, Compl. fl 12. Everett claims

fhat"at all times material hereto" she, worked approximately 41.5 hours per week.      /d fl 13. She

claims that she also performed unspecified compensable on-call work. Id. n     A.    She further

claims that approximately three occasions per week, her 30 minute meal break was interrupted

and lasted fewer   than2} minutes but that 30 minutes was automatically deducted from her time

records. Id.nn15-17.

               3.       Everett's FMLA Leave and Her Failure to Return to Work

        Everett suffers from Type II Diabetes and Anemia.      Id.123. In or about   the summer    of

2016, Everett was diagnosed with Lofgren Syndrome (acute Sarcoidosis), impairing her ability to

stand, sit, walk, breathe for extended periods. Id.   n24. Beginning in or about July 2016, Everett

commenced a l2-week FMLA leave of absence, which leave Defendant approved. (d.nn26,44,

49. The leave was to expire on October 6,2016. In connection therewith, Everett was advised

that she needed to submit a release to return from work from her doctor. Everett failed to submit

the retum to work authorizaÍion and failed to return to work and as a result, her employment was

terminated on October 13,2016. Id. n35.

               4.       Everett's EEOC Charge and Notice of Right to Sue Associates Home
                        Carer Inc.

        On or about February 3,2017 , Everett filed a Charge of Discrimination with the

United States Equal Employment Opportunity Commission ("EEOC") which was dually filed

with the Pennsylvania Human Relations Commission. Ex. A, Compl. fl 4. The EEOC docketed

Everett's Charge as EEOC Charge No. 530-2017-01935. Id.

                                                  a
                                                  J
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       By correspondence dated December 11,2017, Everett received        a   Notice of Right to Sue

from the EEOC regarding her EEOC Charge, advising her that she had 90 days to file suit

against the Respondent. Id,115. A true and correct copy of Everett's EEOC Notice of Right to

Sue and corresponding letter from Everett's counsel, dated November      13,20ll    (time-stamped as

received by the EEOC on November 15, 2017),are attached together hereto as Exhiþit 8.2

IIr.   STANDAF.PS OF REVIEW

       A.      Legal Standard Under Rute 12(b)(6)

       A motion to dismiss under Rule 12(b)(6) challenges the legal sufficiency of the
                                          o'failure to state a claim upon which relief can be
complaint, which may be dismissed for the

granted." Fed. R. Civ. P. l2(bX6). When reviewing     a   motion to dismiss, the Court must accept

all well-pleaded facts and allegations, and must draw all reasonable inferences therefrom in favor

of the plaintiff. See Burtch v. Milberg Factors, Lnc.,662F.3d212,220 (3d Cir' 2017), cert'

denied,566 U.S. gTl (2012). But, a court mustoodisregard rote recitals of the elements of a cause




2        The Court may consider Everett's EEOC Notice of Right to Sue and corresponding letter
from Everett's counsel on this motion to dismiss. V/hile a district court ruling on a motion to
dismiss may not consider matters extraneous to the pleadings, it may properly consider "a
document integral to or explicitly relied upon in the complairrt," In re Burlington Coat Factory
 Sec. Litig.,1 l4 F.3d 1410, 1426 (3d Cir. 1997), where it is "undisputedly aurherÍic."
                                                                                         In re
Donaldi. Trump Casino Sec. Litig.,7 F.3d357,368 n.9 (3d Cir. 1993), cert.       denied,5l0   U'S.
 lt78 (lgg4); se'e also Feingold v. Graff,516 Fed. Appx. 223,225 (3d Cir. 2013) (holding that,
on a motion to dismiss, a court may consider afactthat is subject to judicial notice under Rule
201(b) of the Federal Rules of Evidence-i.e., "afactthat is not subject to reasonable dispute
because it . . . can be accurately and readily determined from sources whose accuracy cannot
                                                                                       *
reasonably be question ed"); Vega v. Miller, No. 1 l-çv-7224, 2012 WL 67 09642, at 1 (E'D. Pa.
 Dec. 27 , iOlZ¡-(noting court "may take judicial notice of matters of public record outside the
pleadings, such as tontt pto""edings") (citing Travis v. Miller,226 F. Supp' 2d 663,664 n'2
'(e.p.
       pã. 2002) (same)). Here, Everett's EEOC Notice of Right to Sue and corresponding letter
from her counsel are authentic, a matter of public tecord, and integral to the Complaint'
Everett's EEOC Notice of Right to Sue is also explicitly referenced and relied upon in the
Complaint atparagraph5 (see Ex' A)'
                                                 4
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of action, legal conclusions, and mere conclusory statements." James v. City of Wilkes-Barre,

700 F.3d 675,679 (3d Cir. 2012).

         As the Supreme Court made clear in Bell Atløntic Corp. v. Twombly, "[flactual

allegations must be enough to raise a right to relief above the speculative level." 550 U.S. 544,

555 (2007). The Court later refined this approach in Ashuoft v. Iqbal, and emphasized the

requirement thaf a complaint must state a plausible claim for relief in order to survive a motion
                                         ooA
to dismiss. 556 U.S. 662,678 (2009).           claim has facial plausibility when the plaintiff pleads

factual content that allows the court to draw the reasonable inference that the defendant is liable

for the misconduct alleged." Id. (emphasis added). However, "the plausibility standard is not

akin to a 'probability requirement,"'but requires a plaintiff to show "more than a sheer

possibility that adefendant has acted unlawfully." /d

         Application of these legal standards to Everett's Complaint reveals the legal deficiency of

Counts I-IV contained therein.

         B.     Legal Standard Under Rule 12(e)

         Under Rule l2(e), a defendant may move for a more definite statement        "[i]f   a pleading .   .




. is so vague or ambiguous   that aparly cannot reasonably be required to frame      a responsive


pleading." Fed. R. Civ. P. l2(e). "The Rule 12(e) motion for       a more   definite statement is

perhaps the best procedural tool avâilable to the defendant to obtain the factual basis underlying

a   plaintiffs claim for relief." Thomas v. Indep. T*p.,463 F.3d 285,301(3d Cir. 2006) (finding

more definite statement was warranted where the complaint did not provide necessary facts for

determination on a qualified immunity claim); see also Mazuka v. Amazon.com,No. l6-cv-566,

2016 WL 9776081, aI*3-5 (M.D. Pa. June 9,2016) (directing plaintiff to file a more definitive

statement   "[g]iven the legal and factual ambiguity of the plaintiffs claims, and the shifting


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grounds upon which these claims appear to test"), report and recommendation adopted,20l6

WL9776082 (M.D. Pa. July 6,2016).

           To the extent that Counts I, III, and IV of Everett's Complaint are not dismissed under

Rule 12(b)(6), Everett must be compelled to provide a more definitive statement as requested

below.

ry.        ARG

           A.      Everett's ADA Claim Fails to State a Cause of Action Against Maternal
                   Chitd Because Everettos EEOC Notice of Right to Sue Did Not Provide
                   Everett \ilith the Right to Sue Maternal Child.

           The Notice of Right to Sue that Everett received from the EEOC did not provide Everett

with   a   right to sue Maternal Child. The EEOC Notice only provided Everett with a right to sue

Associates Home Care, the Respondent on her EEOC Charge, within the requisite 90-day period'

See Ex. B, Everett's EEOC Notice of Right       to Sue which provides Everett with the right to sue

"Associates Home Care,       Inc." Likewise, the corresponding right-to-sue letter to the EEOC from

Everett's counsel acknowledges that Associates Home Care is the Respondent on Everett's

EEOC Charge. See Ex. B, Everett's counsel's letter which references "Susan Everett v'

Associates Home Care, Inc., Charge No. 530-2017-01935." Therefore, Count I of Everett's

Complaint fails to state an ADA claim against Maternal Child, and Maternal Child must be

dismissed with prejudice from that claim.

           Everett failed to exhaust any administrative remedies against Maternal Child and the time

for Everett to attempt to exhaust administrative remedies against Maternal Child has long-

expired. This Court recently confirmed the limitations period for exhausting administrative

remedies in an ADA case in Pennsylvania:




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       A plaintiff must exhaust all required administrative remedies before bringing a
       claim for judicial relief. This includes timely filing a charge of discrimination
       with the PHRC and the EEOC before bringing suit. For a charge to be timely, the
       plaintiff must normally file his charge of discrimination with the EEOC within
       180 days after the alleged unlawful employment practice took place. However, in
       a"defenal state" such as Pennsylvania, that is, a state which has a state or local
       law prohibiting the practice alleged and established or authorizing the state or
       local authority to grant or seek relief from practices prohibited under the ADA,
       the plaintiff has not 180 but 300 days from the date of the alleged unlawful
       employment practice in which to file [his] charge of discrimination with the
       EEOÇ. The EEOC will then investigate the charge, and, if warranted, will issue a
       right-to-sue letter allowing the plaintiff to initiate a private action.

MøcVaugh v, Cty. of Montgomery,              Supp. 3d          No, 17-cv-4568, 201 8 WL 1518808, at
                                      -F.                 -,
*2 (E.D. Pa. Mar. 27,2018) (internal quotation marks and footnotes omitted). The MacVaugh

Court noted,   "if Defendant's denial of Plaintiffs   transfer requests occurred more than 300 days

prior to the filing of the charge with the EEOC, claims based on these transfer requests will be

precluded." Id. at, *3 n.36

       In this case the alleged unlawful employment practice (Everett's employment

termination) took place on October 13,2016. Ex. A, Compl. fl 35. More than 300 hundred days

have expired since October 13,2016;thus, any attempt by Everett to exhaust her administrative

remedies against Maternal Child would be time-baned and futile.

       Additionally, any amendment of Count I of Everett's Complaint to substitute Associates

Home Care as the defendant on the ADA claim would be futile because Everett failed to sue

Associates Home Care within 90 days of receiving the December 11, 2017 EEOC Notice of

Right ro Sue, as required by law. See 42 U.S.C. $ 2000e-5(Ð(1) (.'[Wlithin ninety days after the

giving of such notice [by the EEOC,] a civil action may be brought against the respondent named

in the charge . . . by the person claiming to be aggrieved."); see also 42 U.S'C' $ 121 17(a)

(stating that the "powers, remedies, and procedures" set forth in $ 2000e-5 apply to ADA

claims); see, e.g.,lL/ashington-Morcis v. Bucks Cty. Transp., Inc.,No' 17-cv- 3631,2018 WL

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2021081, at *7 (E.D. Pa. May 1,2018) (plaintiff was "barred from filing suit about the

discriminatory acts related to the first EEOC complaint because she did not file suit within 90

days of receiving her right-to-sue letter") (citing, inter alia, Mosel v.   Hills Dep't Store, [nc.,789

F   .2d 251,253 (3d Cir. 1986) (noting the rigidity of the 90-day period in which a plaintiff must

file employment discrimination suit after receiving a right-to-sue letter from the EEOC));

Dempsey-Lowden v. Levittown-Fairless Hills Rescue Squad, .Inc., No. 16-cv-61 12,2018 WL

398296, at*3-4 (E.D. Pa. Jan.     1   l,2Ql8) (plaintiff s ADA claim was time-barred claims    because


more than 90 days had elapsed from the time plaintiff received her the right-to-sue letter from the

EEOC until her complaint against defendant was filed).

          Accordingly, Count I of Everett's Amended Complaint must be dismissed with prejudice.

          B.     Everett's ADA and FMLA Claims Are Legally Deficient Because Everett
                 Was Not Terminated for Requesting a Leave, Rather She Was Terminated
                 Because She Failed to Provide the Requisite Return to Work Documentation
                 and She Did Not Return to Work After She Exhausted Her Leave.3

          Everett's mere legal conclusions and conclusory statements set forth in Count I and II of

her   Complaint-namely, that Defendant violated the ADA's prohibitions against discrimination

and retaliation and the   FMLA's prohibition against interference and retaliation by terminating

her employm     erú'for her request for    leøve under the   FMLA   and a reasonable accommodation

under the   ADA" (Ex. A Compl. fl 3 8, emphasis added;       see also id. nn 44-45 , 50-5 I )-must be


disregarded by the Court, James,700 F.3d af 679. In any event, Everett's legal conclusions and

conclusory statements are belied by theføcts Everett asserts in her pleading which establish:

Everett requested a 12-week FMLA leave; Defendant approved the leave; Everett commenced



3        To the extent that Maternal Child's motion to dismiss Count I of Everett's Complaint
against it is not dismissed for the reasons Maternal Child asserts in Argument A above, then
Maternal Child seeks dismissal of Count I for the reasons set fonh in Arguments B and/or C of
this brief.
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the leave in July 2016 andexhausted it in October 2016', after exhausting the leave, Everett failed

to return to work after her leave expired. See the facts Everett alleges in flfl 26, 28,32,33,44,49

of her Çomplaint (Ex. A).

            Accordingly, Counts I and II of Everett's Complaint fail to state a cause of action against

Maternal Child under the ADA and the FMLA and they must be dismissed with prejudice'

            C.     Everett's ADA Claim is Legally Deficient Because Everett Is Not Disabled
                   \ilithin the Meaning of the ADA Which Bars Claims For Transitory and
                   Minor Impairments Under the Act's "Regarded As" Disabled Prong for
                   Establishing a DisabilitY.

 .          The United States Court of Appeals for the Third Circuit ("Third Circuit") recently

discussed the standard to state a prima facie         ADA claim, i.e., "A plaintiff must show (1) that he

                                                                                      job, with or
is disabled within the meaning of the ADA, (2) that he is otherwise qualified for the

without reasonable accommodations, and (3) that he was subjected to an adverse employment

decision as a result of discrimination." Lackey v. Heart of Lancaster Reg'l Med. Ctr.,704 Fed.

Appx. 41,48 (3d Cir. 2017) (quoting Sulima v. Tobyhanna Army Depot,602 F.3d 177,185 (3d

Cir. 2010)). The ADA defines a disability as "a physical or mental impairment that substantially

limits one or more major life activities of such individual," "a record of such an impairment," or

"being regarded as having such an impairment," Id. (quoting 42 U.S'C' $ 12102(1)'

            As the Third Circuit noted in Lackey, since its amendment in 2008, the ADA has further

                                                                                             he or
explained that an individual is "regarded as" disabled when "the individual establishes that

she has been subjected       to an action prohibited under this chapter because ofan actual or

perceived physical or mental impairment whether or not the impairment limits or is perceived to

limit   a   major life activity   :'   Id. (quoting $ 12102(3)(A)). However, this test does not apply to an

impairment that is "transitory and minor."            Id. An impairment is transitory   when it has "an


 actual or expected duration of 6 months or less." /d. (quoting $ 12102(3XB).


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          The "mere fact that an employer is aware of an employee's impairment is insufficient to

demonstrate either that the employer regarded the employee as disabled or that perception caused

the adverse employment action." Kurylo v. Parkhouse Nursing & Rehab. Ctr., LP, No. l7-cv-

00004, 2017 WL 1208065, at *5 (E.D. Pa. Apr. 3,2017) (citations omitted). Instead, "the

relevant inquiry is whether the impairment that the employer perceived is an impairment that is

objectively transitory and minor." Id. (citations omitted).

          Here, Everett alleges that Defendant's purported reasons for terminating her employment

were pretextual and based on her disability that "Defendant regørded her as havíng." Ex. A,

Compl. fl 38 (emphasis added); see also id.     at14l (incorporating prior allegations of the

Complaint in to Count     I).   But, as explainedin Lackey, a "transitory and minor impairment" with

an actual or expected duration of 6 months or less, such as Everett's impairment, does not qualify

under the   ADA's 'oregarded as" prong.     See, e.g.,   Kurylo,2}l7 WL 1208065, at *5 (granting

defendant's motion to dismiss       plaintifls ADA   and PHRA claims under the "regarded as"

disabled prong of the ADA because plaintiff "alleged no facts to suggest that defendant viewed

fhis stomach] problem as ongoing or expected it to last more than six months" and finding
                                                                                          any


amendment to the Complaint would be futile due to plaintiff s inability to meet the threshold

requirements for a disability under the ADA); Budhun v. Reading Hosp. & Med. C/r,, No. 10-cv-

6921,2011 V/L 2746009, at *3 (8.D. Pa. July 14,2011) (denying plaintiff leave to amend her

complaint on futility grounds because she alleged only a temporary impairment of an injured

finger which caused her to lose the use of her finger for two-and-a-half months; thus, plaintiff

was "not disabled, and was not regarded as disabled, within the meaning of the       ADA"\ aff'd,

7   65 F .3d 24s (3d Cir. 20t4).




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       Similar to the complaint filed in Kurylo, Everett's Complaint in this action alleges no

                                                                                         it to
facts fo suggest that Defendant viewed Everett's Lofgren Syndrome as ongoing or expected

last more than six months. Ex. A, Compl.    TI   1-64 (absence of such allegations). Indeed,   "[in] or

around early Octob er 2016" Everett notified Defendant that she anticipated that her

Rheumatologist "would soon release her to return to work." Id. n28; see Kurlyo,2017 WL

120g065, at *5 (plaintiff presented defendant with a doctor's note clearing him to return to work

after two weeks). Since Everett's impairment resulting from her alleged Lofgren Syndrome

lasted about three months, according to the averments of Everett's Complaint, the impairment

was transitory and minor, precluding any    ADA claim    against Maternal Child.

        Count I of Everett's Complaint must thus be dismissed with prejudice. Any attempt by

Everett to amend her Complaint on the impairment issue would be futile because the allegations

in the current Complaint reveal that Everett cannot meet the threshold requirements for a

disability under the ADA.

        If Everett argues in response to this motion that   she is not seeking to recover on the

,,regarded as" disabled prong of the   ADA, then Maternal Child seeks an order under Rule l2(e)

requiring Everett to provide a more definitive statement in order to clarify her ADA claim.

        D.      Everett's Complaint Fails to State a Plausible Claim for Relief Under the
                FLSA or PMWA.

        Everett's Complaint fails to contain sufficient facts to support a plausible claim under the

 FLSA or the pMV/A as required under the lqbat pleading standard. Rather, Everett's Complaint

 merely contains conclusory and vague failure to pay overtime compensation allegations (Ex. A,

 Compl. IIJ 13, 18,20,56,57,63,63), an isolated reference Everett performing "compensable on-

 call work" (id. n lÐ, vague "meal break" deductions in compens ation (id. IT 1 5- l7), all of which

 lack any temporal limitation. At best, Everett's claims merely recite some statutory elements of

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FLSA and PMV/A claims (id.nn 55-56, 58-62,64) in contravention of lqbal s pleading

mandates.

          Everett's Complaint is devoid of an estimate of øny time period with respect to

Defendant's alleged failure to pay overtime compensation, or any other type of compensation

that might be at issue. She merely avers, "At all times material hereto [she] worked

approximately 4l .5 hours per week." Id. n     ß. This is insufficient   to state FLSA and PMWA

claims concerning overtime compensation.

          While plaintiffs are not required to identify the exact dates and times of overtime work,

Davis v. Abington Mem'l Hosp., 765 F.3d 236,243 (3d         Cir' 2014), they "must be 'able to

estimate the time periods in which they worked without proper overtime compensation."'

parker v. 4247 FX, Inc.,CV 16-2710,2017 WL2002794,at *5 (E.D. Pa. May 12,2017)

(quoting Mell v. GNC Corp., No. 10-945,2010 WL 4668966, at
                                                           *8 (W.D. Pa. Nov. 9,2010)

(dismissing FLSA claim)), appeal dismissed,No. 17-cv-2601,2017 WL 7000263 (3d Cir' Oct.

16,2017).

          In this case, Everett's "at all times material hereto" allegation fails to put Maternal Child

on notice as to what time periods are at issue in this litigation. She alleges she was employed as

"a Scheduler" with Defendant from September 2004 through October 13,2016, Ex' A, Compl'

1lT 12,   35. However, the FLSA has a two-year statute of limitations for ordinary violations and a

three-year statute of limitations for willful violations under 29 U.S.C. $ 255(a), and the PMV/A

has a three-year statement of limitation for violations under 43 P.S. $ 260.9a. See Caucci       v,


Prison Health Servs., Inc.,l53 F. Supp. 2d 605,610 (8.D. Pa. 2001) (discussing the FLSA and

PMWA statutes of limitations). Consequently, since Everett filed this action on February         18,


20l8,any claim by Everett for overtime compensation violations, or any other compensation


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violations under the FLSA or PMWA are barred by the two-years statute of limitations as of

February 18,2}l6,and barred by the three-year statute of limitations by February 18, 2015 and

must be dismissed with prejudice.

          Everett also fails to allege sufficient facts to establish a willful violation of the FLSA by

Maternal Child. Everett's Çomplaint is devoid of any factual allegations to support a plausible

claim of a willfulness. "To state a claim for a willful violation of the FLSA, more than an

ordinary violation must be alleged." Mell,2010 WL 46689 66,             aT *   8 (citations   omitted)' "To

satisfy   lqbal,it is insufficient to merely assert that the employer's conduct        was    willful; the Court

must look at the underlying factual allegations in the complaint to see if they could support more

than an ordinary FLSA violation." Id. (internal quotation marks and citation omitted). Here, as

in Mell,,.there are no factual allegations which would support a claim that the violations were

willful, for example, reports of complaints to supervisors       about having to work off the clock


which were rebuffed or ignore d." See id. (dismissing willful FLSA claim). In fact, Everett plead

                            willful FLSA violation-she     does not allege, how or under what
no   facts to support   a


circumstances any FLSA compensation violation occurred. Everett's willful allegation is merely

a legal conclusion that Court must      ignore. Ex. A Compl. fl 58 ("Defendant's actions were willful,

not in good faith, and in reckless disregard of clearly applicable FLSA provisions).
                                                                                         o'on-call"
          Further,   if Everett is attempting to make a claim for alleged failure to pay

compensation under the FLSA, which is not clear from the vague allegations of her Complaint,

she falls   woefully short of stating a cause of action for such    a   violation. "On-call time can be

compensable under the FLSA, but the Supreme Court has not established a "bright line rule" to

determine whether hours spent on call qualify for compensation. Parker,2017 WL2002794, af

*7 (dismissing "on-call" compensation violation clam) (citing Ingram v. Cty. of Bucks,144 F'3d



                                                      T3
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265,267 (3d Cir. 199S) (citing Skidmore v. Swift,323 U.S. 134 (1944)). "The Third Circuit, in

interpreting the Department of Labor regulations, has established four factors to help courts

determine whether on-call time is compensable under the FLSA:

       First, whether the employee may cany a beeper or leave home; second, the
       frequency of calls and the nature of the employer's demands; third, the employee''
       ability to maintain a flexible on-call schedule and switch on-call shifts; and
       fourth, whether the employee actually engaged in personal activities during on-
       call time. If these factors reveal onerous on-call policies and significant
       interference with the employee's personal life, Courts have held that on-call time
       is compensable.

Id. (citing Ingram, 144 F.3d at268). Here, Everett simply makes         a passing reference to


performing'oon-call" work of an unspecified nature in an unspecified time period; she alleges zo

facts to put Defendant on notice   as   to whether she can establish any of the "on-call" factors

established by the Third Circuit, or otherwise. Therefore, any claim for "on-call" compensation

violation under the FLSA must be dismissed.

       To the extent that the Court does not dismiss Counts      III   and   IV of Everett's Complaint   as


requested above, then Maternal Child requests that Everett be compelled to          file a more definitive

statement under Rule l2(e) to clarify the FLSA and PMWA claims which are currently vague

and ambiguous




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v.       Cq\ÇLUSION

         For the foregoing reasons, defendant The Maternal Child Consortium,LLC respectfully

requests that the Court grant its Motion to Dismiss   Plaintifls Complaint or alternate Motion for

a More   Definitive Statement.

                                             Respectfully submitted,

                                             McSHEA LA\il FIRM' P.C.

                                              /s/ Ralp]r J..Kelly
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                                             The Maternal Child Consortium,LLC

Date: May 29,2018




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                                 CryRTIFICATE OF SERVICE

       I hereby certify that, on this   29th day   of May,20l8,I electronically filed the foregoing

Defendant Maternal Child Consqrtium, LLC's Motion to Dismiss Plaintiff s Complaint or for a

More Definitive Statement and accompanying Brief with the Clerk of Court using the CM/ECF

system, which   will automatically   send email notification of such   filing to the following attorney

of record:

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